
Judge Underwood
delivered the opinion of the court.
Where a cause of action does not immediately arise upon the making of a promise, but res,1bs from a breach happening years after the promise is made, the plea of non assumpsit within *501five years is not a bar. If the limitation is relied on, it should be actio non accrevit, &amp;c. The limitation does not run until there has been a breach of the promise. An undertaking to pay money five years hence is not barred until five years after the money has become due.
Monroe, for plaintiff.
The statute of frauds did not make the declaration bad, because no writing was set out. The judg ment upon the demurrer was erroneous. The plea was bad.
Judgment reversed, witli costs, and cause remanded for judgment against the plea.
